
726 S.E.2d 838 (2012)
STATE of North Carolina
v.
James SWINSON.
No. 117P12.
Supreme Court of North Carolina.
June 13, 2012.
Sue Genrich Berry, Wilmington, for Swinson, James.
Steven Armstrong, Assistant Attorney General, for State of North Carolina.
W. Clark Everett, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 15th of March 2012 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 13th of June 2012."
